                                                     Case 5:18-cv-02225-DDP-SHK Document 31 Filed 04/17/19 Page 1 of 4 Page ID #:226



                                                       1   George M. Lee (SBN 172982)
                                                              gml@seilerepstein.com
                                                       2   SEILER EPSTEIN LLP
                                                           275 Battery Street, Suite 1600
                                                       3   San Francisco, CA 94111
                                                           Phone: (415) 979-0500
                                                       4   Fax: (415) 979-0511
                                                       5   Attorneys for Plaintiffs
                                                           ARIE VAN NIEUWENHUYZEN,
                                                       6   THE CALGUNS FOUNDATION,
                                                       7
                                                           FIREARMS POLICY COALITION,
                                                           FIREARMS POLICY FOUNDATION,
                                                       8   SECOND AMENDMENT FOUNDATION, and
                                                           MADISON SOCIETY FOUNDATION
                                                       9
                                                      10                          UNITED STATES DISTRICT COURT
SEILER EPSTEIN ZIEGLER & APPLEGATE LLP




                                                      11                         CENTRAL DISTRICT OF CALIFORNIA
                                                      12                                     EASTERN DIVISION
                                                      13
                                                      14   ARIE VAN NIEUWENHUYZEN, an                      Case No. 5:18-cv-02225-DDP-SHK
                                  Attorneys at Law




                                                           individual; THE CALGUNS
                                                      15   FOUNDATION; FIREARMS POLICY                     STIPULATION TO PERMANENT
                                                      16   COALITION; FIREARMS POLICY                      INJUNCTION
                                                           FOUNDATION; SECOND
                                                      17   AMENDMENT FOUNDATION; and
                                                      18   MADISON SOCIETY FOUNDATION,
                                                      19
                                                                   Plaintiffs,
                                                      20
                                                                                 vs.
                                                      21
                                                      22   STANLEY SNIFF, in his capacity as
                                                      23   Sheriff of the County of Riverside;
                                                           RIVERSIDE COUNTY SHERIFF’S
                                                      24   DEPARTMENT, COUNTY OF
                                                      25   RIVERSIDE, CALIFORNIA,
                                                      26           Defendants.
                                                      27
                                                      28
                                                           //

                                                                                                       1
                                                                                       STIPULATION TO PERMANENT INJUNCTION
                                                     Case 5:18-cv-02225-DDP-SHK Document 31 Filed 04/17/19 Page 2 of 4 Page ID #:227



                                                       1         In furtherance of a settlement reached by and between all parties, made on
                                                       2   March 11, 2019, the parties to this action, plaintiffs Arie Van Nieuwenhuyzen, The
                                                       3   Calguns Foundation, Firearms Policy Coalition, Firearms Policy Foundation,
                                                       4   Second Amendment Foundation and Madison Society Foundation (“plaintiffs”)
                                                       5   and defendants Chad Bianco (sued herein in the name of his predecessor, Stanley
                                                       6   Sniff, in his official capacity as the Sheriff of the County of Riverside), the
                                                       7
                                                           Riverside County Sheriff’s Department, and the County of Riverside, California
                                                       8
                                                           (“defendants”) hereby agree and stipulate to the issuance of a permanent
                                                       9
                                                           injunction, and hereby request this Court to enter judgment herein, as follows:
                                                      10
                                                                 1.     The Court has jurisdiction over this action pursuant to 28 U.S.C. §
SEILER EPSTEIN ZIEGLER & APPLEGATE LLP




                                                      11
                                                           1331, 1343, 2201, 2202 and 42 U.S.C. § 1983.
                                                      12
                                                                 2.     Venue is proper as to all parties in this District.
                                                      13
                                                                 3.     Defendants (and in the case of Sheriff Bianco, his predecessor) were
                                                      14
                                  Attorneys at Law




                                                           served with the summons and complaint on October 25 and 26, 2018.
                                                      15
                                                                 4.     Plaintiffs filed a motion for preliminary injunction on October 24,
                                                      16
                                                           2018, in which they assert that they demonstrated a likelihood of prevailing on the
                                                      17
                                                           merits of their claim, insofar as defendants’ policies regarding the issuance of
                                                      18
                                                           permits to carry concealed weapons (“CCW Policy”) prevented lawful permanent
                                                      19
                                                           residents, who are otherwise qualified, from applying for CCW permits, that such
                                                      20
                                                      21
                                                           policies violate the Equal Protection Clause of the 14th Amendment of the United

                                                      22   States Constitution, and that such aspect of the CCW Policy is also and otherwise

                                                      23   preempted by state law.

                                                      24         5.     Plaintiffs’ motion for preliminary injunction further alleged that
                                                      25   irreparable injury would result in the absence of injunctive relief, due to the
                                                      26   deprivation of constitutional rights, and that the balance of relative harms and
                                                      27   burdens weighed in favor of granting plaintiffs the injunctive relief requested, and
                                                      28   it is in the public interest to prevent the violation of a party’s constitutional rights.


                                                                                                       2
                                                                                    STIPULATION TO PERMANENT INJUNCTION
                                                     Case 5:18-cv-02225-DDP-SHK Document 31 Filed 04/17/19 Page 3 of 4 Page ID #:228



                                                       1         6.     Defendants filed a statement of non-opposition to the plaintiff’s
                                                       2   motion for preliminary injunction on March 15, 2019.
                                                       3         7.     Without admitting liability or conceding any damage to any of the
                                                       4   plaintiffs herein, defendants agree to entry of an order of injunctive relief which
                                                       5   would provide as follows:
                                                       6         Defendants are now and hereby enjoined from enforcing, and
                                                       7         continuing to enforce, implement or abide by any policy regarding the
                                                                 issuance of permits to carry concealed weapons (CCWs) to the extent
                                                       8
                                                                 that such policy prohibited non-U.S. citizens who are otherwise
                                                       9         qualified, lawful permanent residents of the County of Riverside, and
                                                      10
                                                                 who are not otherwise prohibited from owning firearms, from
                                                                 applying or obtaining a permit to carry a concealed weapon under
SEILER EPSTEIN ZIEGLER & APPLEGATE LLP




                                                      11         state law, Cal. Pen. Code § 26150, et seq.
                                                      12
                                                                 8.     Defendants shall have thirty (30) days to finalize all changes to their
                                                      13
                                                           CCW policy, and eliminate any and all U.S. Citizenship requirements from the
                                                      14
                                  Attorneys at Law




                                                           Riverside County Sheriff Department’s website describing the CCW process, and
                                                      15
                                                           from its CCW application forms.
                                                      16
                                                                 9.     Defendants waive the requirement of a bond for any injunction
                                                      17
                                                           entered pursuant to this stipulation.
                                                      18
                                                      19
                                                                 10.     The issue of plaintiffs’ attorneys’ fees arising under 42 U.S.C. § 1988

                                                      20
                                                           has been resolved separately, and to the satisfaction of the parties.

                                                      21         11.    The parties waive any further finding of facts necessary to enter

                                                      22   injunctive relief under Rules 52 and 65 of the Federal Rules of Civil Procedure.
                                                      23         12.     Plaintiffs shall present this stipulation to the Court, and hereby
                                                      24   request that judgment be entered hereon.
                                                      25         13.    The Court shall retain jurisdiction to enforce the terms of this
                                                      26   Stipulation, its injunction, the judgment, and the settlement agreement.
                                                      27         SO STIPULATED.
                                                      28


                                                                                                      3
                                                                                   STIPULATION TO PERMANENT INJUNCTION
Case 5:18-cv-02225-DDP-SHK Document 31 Filed 04/17/19 Page 4 of 4 Page ID #:229
